
Hawkins, J.,
delivered the opinion of the Court.
This is a suit for an unlawful detainer, commenced before three Justices of the Peace of Union County. *249The Justices rendered judgment against the defendant; from which he appealed to the Circuit Court, in which a trial was had, which resulted in a verdict in favor of the plaintiffs. The defendant moved for a new trial, which was refused; and thereupon, the defendant filed reasons in arrest of judgment, which, hy the Court, were ordered to Btand over for further consideration. The defendant prayed an appeal to this Court, which was granted him. The defendant in error now moves to dismiss the appeal
From an inspection of the record, it does not appear that the Circuit Court took any action upon the reasons filed in arrest of judgment, or pronounced any judgment upon the verdict of the jury, consequently there was no final judgment, from which an appeal would lie.
The motion will he sustained. The appeal will be dismissed, and the cause remanded to the Circuit Court, to be proceeded in to final judgment.
